
















In The


Court of Appeals


Sixth Appellate District of Texas at Texarkana



______________________________



No. 06-07-00021-CV


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AMBER GRIFFITH, Appellant



V.



CONSUMER COUNTY MUTUAL


INSURANCE COMPANY, Appellee



                                              


On Appeal from the 102nd Judicial District Court


Bowie County, Texas


Trial Court No. 06C0737-102




                                                 




Before Morriss, C.J., Carter and Moseley, JJ.


Memorandum Opinion by Justice Moseley



MEMORANDUM OPINION



	Amber Griffith, the sole appellant in this case, has filed with this Court a motion to dismiss
the pending appeal in this matter.  She represents to this Court that a full and final settlement has
been reached.  In such a case, no real controversy exists, and in the absence of a controversy, the
appeal is moot.

	We grant the motion and dismiss this appeal.



						Bailey C. Moseley

						Justice


Date Submitted:	July 2, 2007

Date Decided:		July 3, 2007




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The

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of Appeals

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Sixth
Appellate District of Texas at Texarkana

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06-11-00082-CV

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RE:&nbsp; ZACHARY W. LAWSON

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Mandamus Proceeding

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Morriss, C.J., Carter and Moseley, JJ.

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Opinion by Justice Carter

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OPINION

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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Zachary W. Lawson has filed a petition
for writ of mandamus in which he asks this Court to order the 5th Judicial
District Court of Cass County, Texas, to resolve cause number 07C477, a
forfeiture proceeding filed in August 2007.&nbsp;
Alternatively, Lawson asks this Court to order the trial court to rule
on his motion to dismiss the forfeiture proceeding and motion to suppress
evidence filed in the same cause number.&nbsp;


&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; We may grant a petition for writ of
mandamus when the relator shows there is no adequate
remedy at law to redress the alleged harm and that the act to be compelled is
purely ministerial.&nbsp; Aranda v. Dist. Clerk, 207 S.W.3d 785, 786 (Tex. Crim. App. 2006) (orig.
proceeding) (per&nbsp;curiam) (citing Winters v. Presiding Judge of Criminal Dist.
Court No. Three, 118 S.W.3d 773, 775 (Tex. Crim. App. 2003)). &nbsp;Lawson has no appellate remedy until such time
as (1) a final hearing is held, or (2)&nbsp;the forfeiture action is
dismissed.&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; The trial court conducted a hearing
in cause number 07C477 on May 4, 2011.&nbsp;
At that time, Lawsons (1) motion to dismiss, (2) motion for return of
property, (3) motion for appointment of counsel, and (4) motion to suppress
evidence were denied.&nbsp; Also on May 4,
2011, the trial court granted the States forfeiture motion.&nbsp; Accordingly, because a final hearing has been
conducted and each of Lawsons motions has been decided by the trial court,
Lawson has an adequate remedy at law.[1]&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; We,
therefore, deny the petition for writ of mandamus.

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Carter

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Date Submitted:&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; August
31, 2011

Date Decided:&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; September
1, 2011

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[1]We
have no record that the trial court has signed and entered a formal judgment
memorializing the rulings of May 4, 2011.&nbsp;
These rulings are, however, reflected on the docket sheet for cause
number 07C477.







